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                          THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION



 JAMES D. JOHNSON,as next friend to                                                PLAINTIFFS
 OLIVIA Y., et al.

 vs.                                            CIVIL ACTION NO.: 3:04-CV-251-TSL-FKB

PHIL BRYANT,as Governor                                                         DEFENDANTS
of the State of Mississippi, et al.



                            STIPULATED THIRD REMEDIAL ORDER


 As contemplated by Paragraph 6 of the July 23, 2015 Agreed Order Continuing the Hearing on
 Plaintiffs' Renewed Motion for Contempt (the "Agreed Order") [Dkt. No. 664 at 3-4], the Court has
 been advised that the parties have negotiated this Stipulated Third Remedial Order("STRO") based on
 the recommendations of Public Catalyst and the provisions of the December 22, 2015 Interim
 Remedial Order ("IRO")[Dkt. No. 671], and the May 19, 2016 Stipulated Second Remedial Order
("SSRO")[Dkt. No. 694].

       Whereas, Defendants do not contest a finding of non-compliance as of the date of this
agreement with the Modified Mississippi Settlement Agreement and Reform Plan ("MSA")[Dkt. No.
571] currently in effect; and

        Whereas, the parties stipulate that Defendants do not currently have the capacity to comply
 with the MSA;and

       Whereas, it is the intent of the parties that the Mississippi Department of Child Protection
Services ("MDCPS") engage in a period of capacity building, with the assistance of Public Catalyst.
Having reviewed this STRO as well as the Agreed Order, IRO and the .SSRO the Court orders as
follows:

 1. Defendants do not contest a finding of noncompliance with the MSA through the date of the
    signing of this Agreement and for Period 5. Defendants' noncompliance with the MSA, Period 3
    and 4 Implementation Plans, as well as the Period 5 Implementation Plan, will be a sufficient basis
    for the Plaintiffs to submit evidence and argument to the Court concerning any available remedy at
    the remedial hearing, in the event a remedial hearing is held, including the creation of a


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     receivership. The Defendants reserve the right to present evidence and argument in defense against
     or in favor of any remedy, except that Defendants may not argue that the finding of
     noncompliance, rather than contempt, legally precludes the imposition of a receivership.

2.       Agreed Order,IRO and SSRO Provisions Pending

The provisions of the Agreed Order, IRO and SSRO are incorporated in this STRO as if stated in full
herein. To the extent that those provisions have not yet been fully implemented, Defendants are
ordered to implement the provisions of those three Orders during the duration of this STRO, including
but not limited to:

        a. Complete the creation and implementation of a fully functional child welfare agency,
           MDCPS, which is independent of, although housed within, the Mississippi Department of
           Human Services, not later than July 1, 2018;

        b. MDCPS shall continue to maintain and staff a second Deputy Director for Field Operations
           position, or equivalent title/position, within MDCPS to ensure adequate management,
           supervision and support ofthe MDCPS Regional Directors;

        c. Not later than December 31, 2016, MDCPS shall fully implement the provisions of the
           priority hiring plan set forth in the Recruitment, Hiring and Retention ("RHR") Plan
           submitted to Public Catalyst on May 25, 2016, and not later than July 1, 2017, fully
           implement all remaining provisions ofthe RHR;

        d. Not later than December 31, 2016, MDCPS shall complete the requirements of producing a
           better resourced MDCPS Field Operations team in the State Office whose sole task is to
           provide the regions more robust and continuous support, guidance and accountability in the
           areas of foster care, adoption and child protective services; not later than February 15,
           2017, Public Catalyst will certify whether Defendants have completed these requirements;

        e. Not later than December 31, 2016, MDCPS shall complete the allocation of Personnel
           Identification Numbers (PINS) for adequate administrative staff for each region to each
           Regional Director, to support the administrative work in that region, including staff
           specifically assigned to develop human resources, obtain sufficient facilities, equipment,
           data, flexible funds and services; not later than February 15, 2017, Public Catalyst will
           certify that Defendants have completed this allocation.

        f. Not later than February 15, 2017, Public Catalyst will certify whether State Office staff who
           are responsible for foster care and adoption program functions have been moved to MDCPS
           Field Operations.




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       g. All newly hired caseworkers will be equipped with smart phones and/or tablets prior to
          receiving a caseload.

       h. Not later than October 15, 2016, Defendants shall provide the first annual schedule for
          procurement of and implementation of the Comprehensive Child Welfare Information
          System (CCWIS)system, to replace MACWIS.

       i. By December 31, 2017, the Defendants shall determine whether to pilot a targeted, county-
          based privatization of child welfare services.

      j. MDCPS shall, not later than January 31, 2017, submit a recommendation for amendment of
         the applicable court rules to make MDCPS a party to proceedings involving children in
         MDCPS' custody that concern the issues of child custody, termination of parental rights
         and adoption.

3. Worker and Supervisor Qualifications
     a. MDCPS shall hire caseworkers who have, at minimum, a bachelor's degree in social work
        or a related human services degree. Public Catalyst shall review and determine which
        degrees qualify as related human services degrees.

       b. MDCPS shall hire or promote to the position of caseworker supervisor only persons who
          have, at minimum, the following qualifications:
             1) A master's degree in social work or related human services degree and two years of
                 experience working with children and families, preferably in foster care.
             2) A bachelor's degree in social work or related human services degree with three years
                 of experience working with children and families, preferably in foster care.

4. Training
      a. MDCPS shall maintain a Training Unit headed by a qualified director of training. The
          Training Unit shall have sufficient staffing, funding, and other resources to assure that
          comprehensive child welfare training is provided to enable all caseworkers, supervisors,
          and other child welfare agency employees to comply with the relevant mandates of this
          STRO, MDCPS policy, and reasonable professional standards.

       b. MDCPS caseworkers shall receive a minimum of 270 hours of pre-service training, which
          includes instructional training and supervised field training, and may include E-Learning.
          Any E-learning training is subject to the approval of Public Catalyst. Pre-service training
          provided during an MDCPS internship or previous employment with MDCPS may be
          counted towards the pre-service training requirement if that training is substantially similar
          to the training provided to new hires.



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      c. MDCPS caseworker trainees, as part of pre-service training, may be assigned specific tasks
         or activities in connection with a case that is the primary responsibility of an experienced
         caseworker and may, under appropriate supervision, be assigned responsibility for a
         "training caseload" with progressively responsible caseload assignment:

             1) Upon successful completion of a competency test, reviewed and approved by Public
                Catalyst and administered subsequent to the trainee's fourth week of work, up to 5
                cases may be assigned with supervisor approval;

             2) Final caseloads may be assigned after successful completion of pre-service training,
                all competency-based tests and a satisfactory review by the training team;

             3) All competency tests, modifications to competency tests, and the standards for
                passing competency tests, must be reviewed and approved by Public Catalyst.

      d. MDCPS caseworker supervisors, within 90 days of hire or promotion, shall receive a
         minimum of 40 hours of training, directed specifically at the supervision of child welfare
         caseworkers.

5. Caseloads and Case Services
   a. Defendants shall submit a plan, including supporting data and information, by December 15,
      2016, and have it approved by Public Catalyst, to:

          1) measure caseloads according to the new weighted caseload standards set forth in
             Exhibit"A" ofthis STRO,using the results ofthe September 2016 caseload audit;

          2) streamline in-home (prevention/protection) and out-of-home (placement) case service
             types; and

          3) streamline the County of Responsibility/County of Service case types

   b. Public Catalyst will establish performance targets for MDCPS caseload compliance by March
      1,2017, and report on compliance to the parties every three(3) months.

   c. Defendants will comply with the caseload compliance performance targets established by
      Public Catalyst.

   d. Defendants shall achieve full caseload compliance with the new weighted caseload standards
      by December 31, 2017.



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6. Placements
   a. Unlicensed Placements
      1) Backlog of Unlicensed Homes

         Of those 496 unlicensed homes in the backlog identified by Public Catalyst on August 15,
         2016, the Defendants shall review and determine on a priority basis, within the time frames
         stated below, whether these homes meet MDCPS licensing standards.

            a) Defendants shall prioritize the review of the 496 unlicensed homes in the backlog
               by first reviewing all those unlicensed homes in the backlog with children placed
               under six (6) years of age and who are in the custody of MDCPS (Priority One),
               followed by all those unlicensed homes in the backlog with children who, as of
               November 1, 2016 and/or February 1, 2017, have not been visited by MDCPS for
               60 days or more (Priority Two).

            b) The prioritized review, described in Paragraph 6.a.1)a) above, shall result in no
               fewer than 164 ofthe 496 unlicensed homes but all ofthe children in Priority One in
               the backlog being reviewed by December 31, 2016, and with all children in Priority
               Two, no fewer than 332 of the 496 unlicensed homes in the backlog being reviewed
               by March 31, 2017.

            c) By June 30, 2017, all of the 496 unlicensed homes in the backlog, identified by
               Public Catalyst on August 15, 2016, shall either be licensed, closed or remain open
               and unlicensed with an order of the court as defined in Paragraph 6.a.3)a).

            d) Public Catalyst, in collaboration with MDCPS, will conduct a quality review of a
               sample of the files reviewed in the backlog of 496 unlicensed homes by March 31,
               2017.

      2) New Placements into Unlicensed Homes or Facilities: August 16, 2016 to June 30, 2017.

             a) Public Catalyst shall, by December 31, 2016, approve the licensure process used by
                MDCPS for new placements into unlicensed homes and facilities, including the
                emergency placement checklist safety standards, the home study and related
                licensure forms and documents, time frames for completing the licensure process,
                and percentages for licensure of unlicensed placements made during the period.

             b) Public Catalyst, in collaboration with MDCPS, will conduct periodic quality
                reviews of the expedited relative placement licensure process during the pendency
                ofthis STRO.




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           c) Beginning with placements made on July 1, 2017, and thereafter, all homes and
              facilities with children placed who are in the custody of MDCPS shall be timely
              licensed and subject to the licensure process approved by Public Catalyst on
              December 31, 2016.

       3) For Unlicensed Placements that Cannot Meet Licensure Standards

           No child shall remain in a home or facility determined to be unable to meet MDCPS
           licensing standards, absent an order by a state court with jurisdiction over child custody
           directing the placement of the child into a specific unlicensed placement. Defendants
           shall not be held accountable for a state court's order as long as MDCPS documents that
           it presented information to the court that the home has not met licensing standards, the
           reasons why the home has not and cannot meet licensing standards, and that a licensed
           home or facility or, one time only, an appropriate expedited relative placement is
           available.

           a) Safety Issues: If it is determined that an unlicensed home or facility is unable to
              meet MDCPS licensing standards due to a safety issue, Defendants shall take all
              reasonable efforts to immediately ensure the child's safety and to remove the child,
              including, if required by the court, seeking an emergency court order. Defendants
              shall not be held accountable for the state court's order as long as MDCPS
              documents that it presented information to the court that the home or facility has not
              met licensing standards and that a licensed home or facility or an expedited relative
              placement is available. If the child is not in imminent danger, MDCPS shall
              implement a safety plan and within five (5) calendar days, either cure the licensing
              deficiency if feasible, or move the child to a licensed home or facility or, one time
              only, an appropriate expedited relative placement.

           b) Non-safety Issues: If MDCPS determines a home to be unable to meet MDCPS
              licensing standards due to a non-safety issue, Defendants shall, within 30 calendar
              days of that determination, either cure the licensing deficiency if feasible, or move
              the child to a licensed home or facility or, one time only, an appropriate expedited
              relative placement.

           c) Public Catalyst will certify to the parties every three months, commencing on April
              1,2017, MDCPS's performance on the Placements requirements ofParagraph 6.

 b. Family Based Placements
       1) Number of Available Licensed Placements
          Based on the results of a data driven needs assessment that shall be completed by
           MDCPS in January 2017, Public Catalyst, in conjunction with MDCPS, shall establish



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              statewide and county performance requirements and time periods by February 1, 2017
              for new home licensure in calendar year 2017. Public Catalyst will report to the parties
              MDCPS' progress on achieving the performance requirements. The Defendants shall
              meet the performance requirements, including time periods.

           2) Additional Licensed Placements
              Not later than February 1, 2017, MDCPS shall begin to implement the plan to recruit
              and retain additional licensed placements and shall maintain the additional number of
              total placements, as necessary during the applicability ofthis STRO.

7. Child Safety and Critical Indicators
   a. Maltreatment in Care
          1) Public Catalyst will certify the baseline for maltreatment in care of children who are in
              the custody of MDCPS.

           2) The rate of maltreatment in care shall be calculated as follows: Of all children in foster
              care during the period, what percent were victims of substantiated maltreatment by a
              foster parent or facility staff member. A child is counted as having been maltreated in
              foster care if the perpetrator of the maltreatment was identified as a foster parent or a
              residential facility staff member. The numerator shall consist of all children whose
              maltreatment is substantiated during the period. The denominator shall consist of all
              children placed in foster care during the period. The observation period is six (6)
              months. The initial reporting period for this indicator will be April 1, 2016-September
              30, 2016.

   b. Provision of Health Care to Children
          1) Public Catalyst will complete a sample case record review by October 31, 2017, to
             assess the extent to which follow-up medical care is identified as needed and provided
             to children who are in the custody of MDCPS.

   c. Permanency
        1) Public Catalyst will collaborate with MDCPS to certify the baseline for the following
           child permanency indicators:

              a) Of all children in foster care on the first day of a 12-month period, which shall
                 commence on October 1st of any given year, the percent of children discharged from
                 foster care to permanency within 12 months. The numerator is the number of
                 children in the denominator who discharged from foster care to permanency within
                 12 months. The initial reporting period for this indicator will be October 1, 2016-
                 September 30, 2017;



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           b) Of all children in foster care on the first day of a 12-month period, which shall
              commence on October 1st of any given year, the percent of children discharged from
              foster care to permanency within 13-23 months. The numerator is the number of
              children in the denominator who discharged from foster care to permanency within
              13-23 months. The initial reporting period for this indicator will be October 1, 2016-
              September 30, 2017;

           c) Of all children in foster care on the first day of a 12-month period, which shall
              commence on October Pt of any given year, the percent of children discharged from
              foster care to permanency in 24 months and more. The numerator is the number of
              children in the denominator who discharged from foster care to permanency in 24
              months and more. The initial reporting period for this indicator will be October 1,
              2016-September 30, 2017.

        2) For all of the foregoing indicators, permanency is defined as: discharges from foster
           care to reunification with the child's parents or primary caregivers; durable legal
           custody; guardianship; or adoption. MDCPS will report, separately, discharges by
           permanency type and by time to permanency.

        3) For all children in the care of MDCPS who were adopted in 2016, Public Catalyst will
           collaborate with MDCPS to certify the data used to calculate the average and median
           lengths of time to adoption finalization for each child from the date on which that
           child's adoption goal was established, and from the date on which the child's parents'
           rights were terminated.

 d. Child Visitation
       1) Public Catalyst will certify the baseline percent of MDCPS worker-child visits which
           will be calculated by dividing the total number of actual worker-child visits required in
           a six-month period by the total number of required worker-child visits during that
           period. The calculation will include all children who were in care for at least one full
           month during the period.

        2) Public Catalyst will certify the baseline data on the distribution of required worker-child
           visits during a six-month period selected by Public Catalyst during the pendency of this
           STRO,to include the percent of children who received two required visits, one visit or
           zero visits on a monthly basis and for the period. For children who received no worker
           visits during any full month in the period, MDCPS shall provide, and Pubic Catalyst
           shall authenticate, data on the distribution ofthe last worker visit for those children.




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   e. MDCPS will submit proposed policy changes by January 15, 2017, for Public Catalyst's review
      and approval, to strengthen and clarify the role of the Special Investigations Unit with respect
      to screening and investigating maltreatment in care.

   f. MDCPS will submit a plan by January 3, 2017, for Public Catalyst's review and approval, to
      enhance the ongoing quality assessment of, and accuracy of, hotline screening dispositions.
      Defendants will implement the approved plan.

   g. Public Catalyst will assess the quality of hotline screening by June 30, 2017.

   h. Once Public Catalyst certifies baseline data from MDCPS for each critical indicator in 7(a)(b)
     (c) and (d) above, Public Catalyst will continue to certify MDCPS data for each indicator on a
      semi-annual basis during the period of this STRO in a format to be determined by Public
      Catalyst and MDCPS.Each ofthese data indicators will be subject to data quality review.

   i. Monitoring under the existing MSA during the period in which the STRO is in effect will be
      temporarily superseded by the provision of verified data on critical indicators as described in
      Paragraph 7 ofthis STRO.

   j. Plaintiffs retain the right to seek immediate relief from the Court if any of the data reported on
      the critical indicators during this period requires the need for additional remedial action by the
      Court, given the issues raised in the pending contempt motion.

8. Public Catalyst shall, in conjunction with MDCPS, report on a quarterly basis on the Defendants'
   compliance as to the specific provisions ofthis Order during the time this STRO remains in effect.

9. This STRO shall remain in effect until December 31, 2017, after which the 2nd Modified
   Settlement Agreement(MSA)shall go into effect.

10. The remedy phase of the Motion for Contempt shall be continued until the 2nd MSA goes into
    effect, and may be invoked by Plaintiffs at any point during the period of the STRO, both for
    violations of the MSA [Dkt. No. 571] previously in effect and for violations of the provisions of
    this STRO.


 SO ORDERED this 19th day of December, 2016.



                                                    /s/Tom S. Lee
                                                    SENIOR DISTRICT JUDGE,TOM S. LEE




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AGREED TO AND APPROVED FOR ENTRY BY: FOR PLAINTIFFS:

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                                              EXHIBIT A


Individual DFCS caseworkers with generic caseloads shall not carry a mixed caseload that exceeds 100
percent capacity as calculated by the following weights per case type:

                       Type of Case                           Standards         Weight Per Case —
                                                                                 100% Capacity
 Child Protection                                           14 Investigations        0.0714
(Investigations Level 2 and 3)
 Ongoing Foster Care                                          14 Children            0.0714
(Placement Responsibility &Service)
 Ongoing Foster Care                                                                 0.0357
(Placement County of Responsibility)
 Ongoing Foster Care                                                                 0.0357
(Placement County of Service)
 In-Home Cases                                                17 Families            0.0588
(Protection Responsibility & Service, Prevention
 Responsibility & Service, and Interstate Compact on the
 Placement of Children - Incoming)
 In-Home Cases                                                                       0.0294
(Protection or Prevention County of Responsibility)
 In-Home Cases                                                                       0.0294
(Protection or Prevention County of Service)
 Adoption                                                     15 Children            0.0667
(Adoption County of Service)
 New Application Licensing                                     15 Homes              0.0667
(Resource Inquiry, Interstate Compact on the Placement of
 Children Application, and Foster Home Study)
 Renewal Licensing                                             36 Homes              0.0278
(Foster Home Supervision and Foster Home Renewal)




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